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                         fN THE UN ITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGfNIA                    r- ,
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                                     Alexandria Division
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 SHARYL THOMPSON ATTKISSON,                   )                                  .      I                   (
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 el al. ,                                     )                                          •               _J
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                        Plaintiffs,           )
                                              )
        v.                                    )    Civi l Action No. 1: I7cv0364 (LMB/JF /\)
                                              )
 ERIC HOLDER, et al.,                         )
                                              )
                        Defendants.           )


                                              ORDER

        On Friday, December I, 2017, counsel for the plaintiffs appeared before the court lo

 present argument on plaintiffs' motion for status conference and extension of certain discovery

 deadlines (Docket no. 141 ). Upon consideration of the unopposed motion and incorporated

 memorandum, and for the reasons stated from the bench, it is hereby

        ORDERED that plaintiffs' motion is granted. The current Scheduling Order (Docket no.

 I 08) is vacated. Plaintiffs are directed to substitute new parties for the John Doe defendants by

 no later than January 5, 2018 at 10:00 a.m. Once the substituted parties have been served and

 make an appearance in this case, a new scheduling order will be entered.

        Entered this Ist day of December. 20 17.

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                                                            - F.-Anderson        43WI
                                                        United States Magistrate Judge
                                                      John F. Anderson
                                                      United States Magistrate Judge
 Alexandria, Virginia
